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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                              Crim. No. 21-123 (PLF)

 VITALI GOSSJANKOWSKI,

                       Defendant.



                  MOTION TO DISMISS CIVIL DISORDER CHARGE
                    UNDER 18 U.S.C. § 231(a)(3) (COUNT ONE)

       Vitali GossJankowski, through undersigned counsel, and pursuant to Rule of Criminal

Procedure 12(b)(3), hereby respectfully requests that the Court dismiss Count One of the

Superseding Indictment (“SI”), ECF 41, which charges him with civil disorder, in violation of 18

U.S.C. § 231(a)(3). For the reasons discussed below, § 231(a)(3) is unconstitutionally vague and

overbroad, and impermissibly criminalizes conduct protected under the First Amendment.

                                      BACKGROUND

       The operative indictment alleges six counts against Mr. GossJankowski relating to the

events at the U.S. Capitol on January 6, 2021. Tracking the language of 18 U.S.C. § 231(a)(3),

Count One alleges that Mr. GossJankowski:

       committed and attempted to commit an act to obstruct, impede, and interfere with
       a law enforcement officer, lawfully engaged in the lawful performance of his/her
       official duties incident to and during the commission of a civil disorder which in
       any way and degree obstructed, delayed, and adversely affected commerce and the
       movement of any article and commodity in commerce and the conduct and
       performance of any federally protected function.

SI at 1–2.
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       Section § 231(a)(3) provides that:

       Whoever commits or attempts to commit any act to obstruct, impede, or interfere
       with any fireman or law enforcement officer lawfully engaged in the lawful
       performance of his official duties incident to and during the commission of a civil
       disorder which in any way or degree obstructs, delays, or adversely affects
       commerce or the movement of any article or commodity in commerce or the
       conduct or performance of any federally protected function shall be fined under
       this title or imprisoned not more than five years or both.

18 U.S.C. § 231(a)(3). For purposes of this statute, “civil disorder” is defined as:

       any public disturbance involving acts of violence by assemblages of three or more
       persons, which causes an immediate danger of or results in damage or injury to the
       property or person of any other individual.

18 U.S.C. § 232(1). “Commerce” is defined as:

       (A) between any State or the District of Columbia and any place outside thereof;
       (B) between points within any State or the District of Columbia, but through any
       place outside thereof; or (C) wholly within the District of Columbia.

18 U.S.C. § 232(2). “Federally protected function” is defined as:

       any function, operation, or action carried out, under the laws of the United States,
       by any department, agency, or instrumentality of the United States or by an officer
       or employee thereof; and such term shall specifically include, but not be limited to,
       the collection and distribution of the United States mails.

18 U.S.C. § 232(3).

                                            ARGUMENT

I.     Section 231(a)(3) is Unconstitutionally Vague and Overbroad.

       Section 231(a)(3) is overbroad and unconstitutionally vague because its imprecise and

subjective standards fail to provide fair notice and create significant risk of arbitrary enforcement.

In addition, several of the statute’s terms are so broad and indefinite as to impose unqualified

burdens on a range of protected expression.

       A criminal statute is unconstitutionally vague if it “fails to give ordinary people fair notice

of the conduct it punishes, or [is] so standardless that it invites arbitrary enforcement.” United

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States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir. 2017) (quoting Johnson v. United States, 576

U.S. 591, 595 (2015)). “The touchstone is whether the statute, either standing alone or as

construed, made it reasonably clear at the relevant time that the defendant’s conduct was criminal.”

United States v. Lanier, 520 U.S. 259 (1997). The void-for-vagueness doctrine protects against

arbitrary or discriminatory law enforcement. Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018)

(citing Kolender v. Lawson, 461 U.S. 352, 358 (1983)).

       “The prohibition of vagueness in criminal statutes ‘is a well-recognized requirement,

consonant alike with ordinary notions of fair play and the settled rules of law,’ and a statute that

flouts it ‘violates the first essential of due process.’” Johnson v. United States, 576 U.S. 591, 595

(2015) (quoting Connally v. General Constr. Co., 269 U.S. 385, 391 (1926)). As the Supreme

Court has explained,

       [i]t is a basic principle of due process that an enactment is void for vagueness if its
       prohibitions are not clearly defined. Vague laws offend several important values.
       First, because we assume that man is free to steer between lawful and unlawful
       conduct, we insist that laws give the person of ordinary intelligence a reasonable
       opportunity to know what is prohibited, so that he may act accordingly. Vague laws
       may trap the innocent by not providing fair warning. Second, if arbitrary and
       discriminatory enforcement is to be prevented, laws must provide explicit standards
       for those who apply them. A vague law impermissibly delegates basic policy
       matters to policemen, judges, and juries for resolution on an ad hoc and subjective
       basis, with the attendant dangers of arbitrary and discriminatory application. Third,
       but related, where a vague statute abuts upon sensitive areas of basis First
       Amendment freedoms, it operates to inhibit the exercise of those freedoms.

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972) (internal citations and quotations omitted).

As mentioned by the Supreme Court in Grayned, vagueness concerns are most acute when the

statute imposes criminal penalties and implicates the First Amendment by chilling exercise of

protected expression. See Kolender v. Lawson, 461 U.S. 352, 358-59 n. 8 (1983); Village of

Hoffman Estates v. Flipside, 455 U.S. 489, 498-99 (1982); see also Smith v. Goguen, 415 U.S.

566, 573 (1974) (Where “a statute’s literal scope [reaches] expression sheltered by the First

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Amendment, the [vagueness] doctrine demands a greater degree of specificity than in other

contexts.”).

       Section 231(a)(3) is replete with vague and imprecise terms that fail to provide a person of

ordinary intelligence a reasonable opportunity to know what conduct is prohibited. The following

examples are illustrative of §231(a)(3)’s vagueness.

       “Any Act to Obstruct, Impede, or Interfere”

       By penalizing “any act to obstruct, impede, or interfere,” §231(a)(3) reaches the outer

limits of verbal and expressive conduct without drawing any distinction that could exclude acts

undertaken merely to convey a message or symbolic content. See Roy v. City of Monroe, 950 F.3d

245, 252 (5th Cir. 2020) (acknowledging that “[s]tanding alone . . . a prohibition on ‘any act

[undertaken] in such a manner as to disturb or alarm the public’ fails meaningfully to guide the

police and thus poses a substantial risk of arbitrary or discriminatory enforcement.”) (quoting

Louisiana v. Cox, 379 U.S. 536, 551-52 (1965)). The phrase “any act to obstruct, impede, or

interfere” can fairly include within its plain meaning such diverse acts as pure speech, expressive

conduct, minimal jostling or even grievous, violent assaults.

       “Incident to and During the Commission of a Civil Disorder”

       The phrasing “incident to and during the commission of a civil disorder” is also

problematic for its vagueness. The term “civil disorder,” as defined under §232(1), is extremely

far-reaching, applying to “any public disturbance involving acts of violence by assemblages of

three or more persons, which causes an immediate danger of . . . injury to the property.” 18 U.S.C.

§ 232(1). This definition of “civil disorder” offers no limitation to solve the vagueness problem

because it could apply to virtually any tumultuous public gathering to which police might be called,

not just large-scale protests or riots. Further, there is no indication within the statute whether the



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defendant is required to have participated in the civil disorder, or if it is sufficient that he or she be

in the general vicinity of the event.

        Lack of Scienter

        The Supreme Court has repeatedly affirmed that “a scienter requirement may mitigate a

law’s vagueness, especially with respect to the adequacy of notice to the complainant that his

conduct is proscribed.” Vill. of Hoffman Ests., 455 U.S. at 499. But here, there is no such

mitigation, because Section 231(a)(3) contains no scienter requirement, thus creating ‘a trap for

those who act in good faith.’” Colautti v. Franklin, 439 U.S. 379, 395 (1979) (quoting United

States v. Ragen, 314 U.S. 513, 524 (1942)). Because the statute omits an express mens rea

requirement, it is left to police, prosecutors, and judges to decide whether the statute requires

knowledge or specific intent or neither. The absence of a scienter/mens rea element weighs in

further favor of the statute’s unconstitutionality.

        By enacting a statute with such imprecise language, Congress created “a criminal

prohibition of alarming breadth.” United States v. Stevens, 559 U.S. 460, 474 (2010). “Vague

statutes threaten to hand responsibility for defining crimes to relatively unaccountable police,

prosecutors, and judges, eroding the people’s ability to oversee the creation of the laws they are

expected to abide.” United States v. Davis, 139 S. Ct. 2319, 2325 (2019). Section 231(a)(3)’s scope

“may entirely depend” on a law enforcement official’s unbounded speculation about subjective

factors, Coates v. Cincinnati, 402 U.S. 611, 614 (1971), thus subjecting “individuals to the risk of

arbitrary or discriminatory prosecution and conviction.” United States v. Kozminski, 487 U.S. 931,

949-50 (1988) (holding statute unconstitutionally vague where liability “depend[ed] entirely upon

the victim’s state of mind”).




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        In Houston v. Hill, 482 U.S. 451 (1987), the Supreme Court declared unconstitutional a

municipal ordinance that made it unlawful to interrupt a police officer in the performance of his or

her duties, finding that the ordinance’s sweeping nature was neither “inevitable” nor “essential to

maintain public order.” 482 U.S. at 464. Because the ordinance was “not narrowly tailored to

prohibit only disorderly conduct or fighting words,” it wrongly gave police “unfettered discretion

to arrest individuals for words or conduct that annoy or offend them.” Id. at 465. Similarly, here,

§231(a)(3) casts far too wide a net. By expansively encompassing “any act” that could interfere

with the duties of a police officer or firefighter during a civil disorder, §231(a)(3) is not limited to

“violent acts” or acts that result in bodily injury or that otherwise put persons or property in

imminent danger. C.f. United States v. Reese, 92 U.S. (2 Otto) 214, 221 (1876) (“It would certainly

be dangerous if the legislature could set a net large enough to catch all possible offenders, and

leave it to the courts to step inside and say who could be rightfully detained, and who should be

set at large.”). Moreover, the statute does not weed out those acts with protected expressive content

or those that occur in a traditional public forum. Instead, as discussed further below, §231(a)(3)

reaches a substantial amount of expressive conduct, and without clear boundaries, the law chills

free speech and invites discriminatory application by law enforcement and the government.

II.     Section 231(a)(3) Impermissibly Criminalizes Conduct Protected Under the First
        Amendment.

        “In the First Amendment context, . . . a law may be invalidated as overbroad

if ‘a substantial number of its applications are unconstitutional, judged in relation

to the statute’s plainly legitimate sweep.’” United States v. Stevens, 559 U.S. 460, 473 (2010)

(quoting Washington State Grange v. Washington State Republican Party, 552 U.S. 442, 449

(2008)). The first Amendment protects expressive conduct like cross-burning, flag-burning and




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assembly in inconvenient places. 1 Conduct is considered expressive, and therefore protected,

under the First Amendment when it “is intended to convey a ‘particularized message’ and the

likelihood is great that the message would be so understood.” Knox v. Brnovich, 907 F.3d 1167,

1181 (9th Cir. 2018) (quoting Nunez v. Davis, 169 F.3d 1222, 1226 (9th Cir. 1999)).

        The plain language of §231(a)(3) is at odds with the protections of the First Amendment.

Indeed, the broadness of §231(a)(3)’s scope authorizes a felony conviction for a bystander who

yells at police to desist from an arrest, one who flips off officers to distract or encourage resistance,

or one who records police activity with a cell phone. See Hill, 482 U.S. at 459 (“[W]e have

repeatedly invalidated laws that provide the police with unfettered discretion to arrest individuals

for words or conduct that annoy or offend them.”); Glick v. Cunniffe, 655 F.3d 78, 83 (1st Cir.

2011) (“[T]he First Amendment protects the filming of government officials in public places.”).

The First Amendment does not permit an unqualified prohibition on “interference” with police

duties because “the freedom of individuals verbally to oppose or challenge police action without

thereby risking arrest is one of the principal characteristics by which we distinguish a free nation

from a police state.” Hill, 482 U.S. at 462-462; see also McCoy v. City of Columbia, 929 F. Supp.

2d 541, 550 (D.S.C. 2013) (invalidating a state statute for overbreadth that made it “unlawful for

any person to interfere with or molest a police officer in the lawful discharge of his duties.”).

        Such broad criminal statutes like §231(a)(3) “must be scrutinized with particular care.”

Hill, 482 U.S. at 459; see also Winters v. New York, 333 U.S. 507, 515 (1948) (“The standards of




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  See Virginia v. Black, 538 U.S. 343, 365-66 (2003) (“[S]ometimes the cross burning is a
statement of ideology, a symbol of group solidarity”); Texas v. Johnson, 491 U.S. 397, 405-06
(1989) (flag burning constituted “expressive conduct” protected by the First Amendment); Clark
v. Cmty. For Creative Non-Violence, 468 U.S. 288, 293 (1984) (assuming that “sleeping in
connection with the demonstration is expressive conduct protected to some extent by the First
Amendment.”).
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certainty in statutes punishing for offenses is higher than in those depending primarily upon civil

sanction for enforcement.”). Criminal laws that “make unlawful a substantial amount of

constitutionally protected conduct may be held facially invalid even if they also have legitimate

application.” Id. Section 231(a)(3) extends to a substantial amount of constitutionally protected

speech and expressive conduct, well in excess of the law’s legitimate sweep.

III.   Section 231(a)(3) Cannot be Saved by Construction without Violating the
       Constitutional Separation of Powers.

       Judicial interpretation cannot save § 231(a)(3) from its constitutional invalidity. A statute’s

vagueness does not permit judges to “rewrite a law to confirm it to constitutional requirements, for

doing so would constitute a serious invasion of the legislative domain, and sharply diminish

Congress’s incentive to draft a narrowly tailored law in the first place.” Stevens, 559 U.S. at 481.

Rather, “[w]hen Congress passes a vague law, the role of the courts under our Constitution is not

to fashion a new, clearer law to take its place, but to treat the law as a nullity and invite Congress

to try again.” Davis, 139 S. Ct. at 2323.

IV.    In the Alternative, the Indictment Should be Dismissed Because it Neither Provides
       Adequate Notice nor Assures that the Grand Jury Made the Determinations
       Required by the Fifth Amendment.

       The constitutional rights to presentment to a grand jury and adequate notice of the charges

are embedded in the Fifth and Sixth Amendments to the United States Constitution and in Rule

7(c) of the Federal Rules of Criminal Procedure. In the array of January 6th cases, the government

mass produced indictments identical in language with little exception. The charge against Mr.

GossJankowski in Count One lacks any specifics regarding the alleged acts or circumstances and

contains only conclusory allegations.

       “[R]eal notice of the true nature of the charge” is “the first and most universally recognized

requirement of due process.” Smith v. O’Grady, 312 U.S. 329, 334 (1941). In holding that the

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notice requirements of the Sixth Amendment apply to the States through the requirement of due

process, the Supreme Court stated: “No principle of procedural due process is more clearly

established than that notice of the specific charge [is] among the constitutional rights of every

accused in a criminal proceeding in all courts, state or federal.” Cole v. Arkansas, 333 U.S. 196,

201 (1948); see Joseph Story, Commentaries on the Constitution, § 1799 (1833) (“[T]he indictment

must charge the time, and place, and nature, and circumstances of the offense, with clearness and

certainty; so that the party may have full notice of the charge, and be able to make his defense with

all reasonable knowledge and ability.”).

       It is not enough for an indictment simply to parrot the statute and its generic terms. The

indictment must set forth, on its face, the “essential facts” of the offense and “descend to

particulars,” beyond statutory boilerplate. Fed. R. Crim. P. 7(c)(1); Russell v. United States, 369

U.S. 749, 765 (1962); United States v. Ballestas, 795 F.3d 138, 148–49 (D.C. Cir. 2015). In other

words, “the indictment may use the language of the statute, but that language must be

supplemented with enough detail to apprise the accused of the particular offense with which he is

charged.” United States v. Conlon, 628 F.2d 150, 155 (D.C. Cir. 1980). As such, the sufficiency

of the allegations in an indictment dovetail with a criminal defendant’s rights under the Fifth and

Sixth Amendments and the court’s ability to answer questions of law concerning the charges. 2



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  Courts in this District regularly dismiss counts in indictments that do not allege “essential facts.”
See, e.g., Mem. Op., United States v. Miller, Case No. 21-cr-119 (CJN) (D.D.C. Mar. 7, 2022),
ECF No. 72 [hereinafter “Miller slip op.”], at 28–29 (in Capitol breach case, dismissing count that
failed to allege violation of § 1512(c)(2)); United States v. Guertin, 2022 WL 203467, at *1
(D.D.C. Jan. 24, 2022) (dismissing indictment that failed to allege violations of §§ 1343 and
1512(c)(2)); United States v. Payne, 382 F. Supp. 3d 71, 74–77 (D.D.C. 2019) (dismissing charge
under § 922(g)(1)); Hillie, 227 F. Supp. 3d at 72–74 (dismissing child pornography-related
charges); United States v. Singhal, 876 F. Supp. 2d 82, 95–96 (D.D.C. 2012) (dismissing charges
under § 1001); Sunia, 643 F. Supp. 2d at 69, 78–81 (dismissing counts that failed to allege offenses
under § 666(a)(1) and § 1505); United States v. Brown, 2007 WL 2007513, at *3–5 (D.D.C. July
9, 2007) (dismissing counts that failed to allege violation of § 1512(c)(2)).
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       The Fifth Amendment’s presentment provision also requires that the facts be elucidated

sufficiently in the indictment so that the grand jury’s finding of probable cause can be ascertained

and to foreclose conviction based on any offense not found by the grand jury. See Stirone, 361

U.S. at 215. Without specificity of charged conduct and circumstances, the court would be forced

to “guess what was in the minds of the grand jury at the time they returned the indictment,” which

would “deprive the defendant of a basic protection that the grand jury was designed to secure,” by

allowing a defendant to be convicted “on the basis of facts not found by, and perhaps not even

presented to, the grand jury that indicted him.” United States v. Du Bo, 186 F.3d 1177, 1179 (9th

Cir. 1999) (quoting United States v. Keith, 605 F.2d 462, 464 (9th Cir. 1979) (citing Russell v.

United States, 369 U.S. 749, 770 (1962)).

       The assembly-line indictments in the January 6th cases generally, and Mr.

GossJankowski’s case in particular, fail to fulfill either the notice or presentment requirements of

the Fifth and Sixth Amendments. There is no attempt within the indictment to fulfill Rule 7(c)’s

requirement of a “plain, concise, and definite written statement of the essential facts constituting

the offense charged.” (emphasis added). The indictment does not specify Mr. GossJankowski’s

actual conduct or the specific circumstances involved. Accordingly, the indictment in this case

does not demonstrate that the grand jury made the required finding of probable cause, and it

provides the defense insufficient notice of the conduct charged.

       The indictment is plainly defective. It does not specify what “act” Mr. GossJankowski is

alleged to have committed or attempted to commit “to obstruct, impede, or interfere with a law

enforcement officer.” It does not allege “any way” in which Mr. GossJankowski “obstruct[ed],

delay[ed], or adversely affect[ed] commerce or the movement of any article or commodity in




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commerce.” It does not state what “commerce,” or article or commodity in commerce, was

“affected.”

       Lastly, to the extent that the indictment charges Mr. GossJankowski with an act “which in

any way and degree obstructed, delayed, and adversely affected . . . the conduct and performance

of any federally protected function,” the indictment further fails to state an offense. “Federally

protected function” is statutorily defined as “any function, operation, or action carried out, under

the laws of the United States, by any department, agency, or instrumentality of the United States.”

18 U.S.C. § 232(3) (emphasis added).          The indictment states no department, agency, or

instrumentality of the United States. Congress is not a department, agency, or instrumentality of

the United States, but rather the legislative branch of the United States. See 18 U.S.C. § 6 (defining

“department” and “agency”); Hubbard v. United States, 514 U.S. 695, 700 (1995); United States

v. Oakar, 111 F.3d 146, 153 (D.C. Cir. 1997) (“an entity within the Legislative Branch cannot be

a ‘department’ within the meaning of . . . 18 U.S.C. § 6”).

                                          CONCLUSION

       For all of these reasons, and such others as may be advanced in further briefing on this

motion, and a hearing on this matter, Mr. GossJankowski respectfully requests that the Court grant

this motion and dismiss Count One (§ 231 charge) of the operative indictment.

                                                      Respectfully Submitted,

                                                      A.J. KRAMER
                                                      FEDERAL PUBLIC DEFENDER

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